
33 B.R. 111 (1983)
In re TWINTON PROPERTIES PARTNERSHIP.
Bankruptcy No. 281-02721.
United States District Court, M.D. Tennessee.
May 10, 1983.
MORTON, Chief Judge.
This court hereby ORDERS, ADJUDGES and DECREES that the report of the standing master is approved.

REPORT AND NOTICE
KEITH M. LUNDIN, Bankruptcy Judge.
Pursuant to Administrative Order No. 28-4(3), the standing master submits this order previously entered by the United States Bankruptcy Court for the Middle District of Tennessee on February 23, 1983, 27 B.R. 817, as a report of the standing master in this case. Furthermore, all parties in interest are given notice pursuant to Federal Rule of Civil Procedure 53(e)(2) that they have 10 days within which to file objections to this report in the Bankruptcy Court Clerk's office designated as the Clerk's Office for the United States District Court for the Middle District of Tennessee pursuant to Administrative Order No. 28-3.
Entered this 21st day of April, 1983.
